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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

VANCE DOTSON and DANAE PARKER,                        )
                                                      )
                      Plaintiffs,                     )
                                                      )
v.                                                    )    Case No. CIV-22-029-D
                                                      )
TRANSWORLD SYSTEMS, INC., et al.,                     )
                                                      )
                      Defendants.                     )


                                           ORDER

       Before the Court is Plaintiff’s Motion for Leave to File Amended Complaint [Doc.

No. 9], filed under Fed. R. Civ. P. 15(a)(2). Plaintiff Vance Dotson moves for authorization

to file an amended pleading that would voluntarily dismiss any claim of Danae Parker. 1

       Upon consideration, the Court finds that the Motion does not satisfy the requirement

of LCvR15.1 to state whether any party objects. However, as to Plaintiff Danae Parker,

the Court has previously found the Complaint is ineffective to bring her claims because the

pleading is not signed by Danae Parker or a licensed attorney appearing on her behalf. See

Order to Show Cause [Doc. No. 7]. As to other parties, the Court notes that no defendant

has answered or otherwise appeared. Therefore, Plaintiff may amend as a matter of right

under Rule 15(a)(1); leave of court is not required. The Court therefore finds that the

Motion is unnecessary and should be denied as moot.




       1
          Plaintiff Vance Dotson alleges and provides evidence that Danae Parker has assigned her
claims to him.
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      IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to File

Amended Complaint [Doc. No. 9] is DENIED without prejudice to a proper amendment.

      IT IS SO ORDERED this 31st day of January, 2022.




                                        2
